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                                                                                    5
                                                                                    6 Attorneys for Plaintiff,
                                                                                      ARASH MORADZDEH M.D., INC.
                                                                                    7
                                                                                    8
                                                                                                      UNITED STATES DISTRICT COURT
                                                                                    9       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                                   10
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                                                                                   11
                                                                                   12 ARASH MORADZDEH M.D., INC.,                 Case No.: 2:23-cv-00208
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                                                                                   13
                                                                                   14                   Plaintiff,
                                                                                   15                                             COMPLAINT FOR RECOVERY OF
                                                                                   16       vs.                                   BENEFITS UNDER 29 U.S.C. § 1132
                                                                                                                                  (A)(1)(B) AND REASONABLE
                                                                                   17                                             ATTORNEY’S FEES AND COSTS
                                                                                   18 UNITED HEALTHCARE SERVICES,                 UNDER 29 U.S.C. § 1132 (G)(1)
                                                                                      INC.; UNITED HEALTHCARE
                                                                                   19 INSURANCE COMPANY, and DOES 1
                                                                                   20 THROUGH 100,
                                                                                   21
                                                                                   22                   Defendants.
                                                                                   23
                                                                                   24
                                                                                   25
                                                                                   26
                                                                                   27
                                                                                                                           –1–
                                                                                   28   COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                     ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1          Plaintiff, Arash Moradzadeh, M.D. (“Dr. Moradzadeh” or “Plaintiff”) alleges as
                                                                                    2 follows:
                                                                                    3 I.       JURISDICTION AND VENUE
                                                                                    4          1.    This Court has subject matter jurisdiction over this action pursuant to 28
                                                                                    5 U.S.C. § 1331 because the action arises under the laws of the United States, and
                                                                                    6 pursuant to 29 U.S.C. § 1132 (e)(1) because the action seeks to enforce rights under the
                                                                                    7 Employee Retirement Income Security Act (“ERISA”).
                                                                                    8          2.    This Court is the proper venue for the action pursuant to 28 U.S.C.
                                                                                    9 § 1391 (b) because a substantial part of the events or omissions giving rise to the claims
                                                                                   10 alleged herein occurred in this Judicial District, and pursuant to 29 U.S.C. § 1132 (e)(2)
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                                                                                   11 because Defendants conduct a substantial amount of business in this Judicial District.
                                                                                   12 II.      THE PARTIES
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                                                                                   13          A.    The Plaintiff
                                                                                   14          3.    Plaintiff, Dr. Arash Moradzadeh, M.D. Inc. is a dual board-certified
                                                                                   15 ENT/Head and Neck Surgery and facial plastic and reconstructive surgeon. His
                                                                                   16 expertise and passion for being at the forefront of leading-edge technology, and
                                                                                   17 commitment to providing exceptional care has made him the quintessential teacher for
                                                                                   18 medical students and colleagues and clinical researcher as well as a highly skilled
                                                                                   19 surgeon in his field. After graduating from University of California, Los Angeles with
                                                                                   20 the highest honors, he completed his medical education at the University of California,
                                                                                   21 San Diego. Upon completion and graduation from medical school, he completed an
                                                                                   22 otolaryngology-head and neck surgery residency with an emphasis on facial, nasal, and
                                                                                   23 neck procedures at the world-renowned Washington University Medical School, and he
                                                                                   24 was thereafter recruited to teach advanced techniques at the University.
                                                                                   25          4.    Dr. Moradzadeh has an extensive number of research publications,
                                                                                   26 book chapters and has served as faculty in national instructions courses teaching,
                                                                                   27
                                                                                                                               –2–
                                                                                   28       COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                         ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 rhinoplasty, sinus surgery, thyroid surgery, blepharoplasty, and face lift surgery. The
                                                                                    2 types of procedures performed by Dr. Moradzadeh include, ear, nose and throat surgery,
                                                                                    3 septoplasty, and related nasal surgeries. Dr. Moradzadeh provided surgical services on
                                                                                    4 behalf of a wide variety of individual patients, many of whom were insured under the
                                                                                    5 terms of group health insurance plans that are governed by ERISA.
                                                                                    6        B.     The Defendants
                                                                                    7        5.     Plaintiff is informed and believes that Defendants United Healthcare
                                                                                    8 Services, Inc., and United Healthcare Insurance Company (sometimes hereinafter
                                                                                    9 jointly referred to as “United” and/or the “United entities” “Defendants”) collectively
                                                                                   10 and with their related companies constitute one of the largest health insurance entities
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                                                                                   11 in the United States.
                                                                                   12        6.     Plaintiff is informed and believes that Defendant United Healthcare
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                                                                                   13 Services, Inc. (“United Healthcare”) is a Minnesota corporation with its corporate
                                                                                   14 headquarters located in Minneapolis, Minnesota, and that this entity acts as an insurance
                                                                                   15 operating entity within the United family of companies. Plaintiff is informed and
                                                                                   16 believes that this entity is licensed to conduct, and does conduct, insurance operations
                                                                                   17 in California and other states, whether it be under the name United Healthcare or some
                                                                                   18 other operating name.
                                                                                   19        7.     Plaintiff is informed and believes that Defendant United Healthcare
                                                                                   20 Insurance Company (“UHC”) is a Minnesota corporation with its corporate
                                                                                   21 headquarters in Minneapolis, Minnesota, and that this entity acts as an insurance
                                                                                   22 underwriting entity within the United family companies. Plaintiff is informed and
                                                                                   23 believes that this entity is licensed to conduct, and does conduct, insurance underwriting
                                                                                   24 in California and other states, whether it be under the name UHC or some other
                                                                                   25 insurance underwriting entity name.
                                                                                   26        8.     Plaintiff is informed and believes that United provides multiple services
                                                                                   27
                                                                                                                             –3–
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 and functions in the realm of health insurance including: (1) underwriting its own health
                                                                                    2 insurance plans for individuals and families; (2) providing services as an administrator
                                                                                    3 of ERISA health insurance plans on behalf of employers and other entities (hereafter
                                                                                    4 referred to as “ERISA Plans” or a “Plan” or “Plans”); and (3) serving as the insurance
                                                                                    5 underwriter of ERISA Plans which offer health insurance benefits to employees and/or
                                                                                    6 members and/or their families. Plaintiff is informed and believes that in each of these
                                                                                    7 functions and capacities United acted as the entity with discretion and actual control to
                                                                                    8 administer, decide and pay healthcare benefit claims from insured members and
                                                                                    9 healthcare service providers based on United’s own coverage determinations and
                                                                                   10 United’s application of claims handling policies and procedures.
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                                                                                   11        9.     Dr. Moradzadeh is informed and believes that United performs its claims
                                                                                   12 handling services for a multitude of ERISA Plans, some of which are self-funded, and
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                                                                                   13 some of which are funded by United acting in its capacity as the insurance underwriter
                                                                                   14 for the Plan. Whether the Plan is self-funded or fully insured, Plaintiff is informed and
                                                                                   15 believes that United provides plan members with plan documents, interprets and
                                                                                   16 purports to apply the plan terms, makes coverage and benefits determinations, handles
                                                                                   17 the appeals of coverage and benefits decisions, and makes payment to medical providers
                                                                                   18 for services rendered in amounts as determined by United.
                                                                                   19        10.    Dr. Moradzadeh is informed and believes that it is United’s responsibility
                                                                                   20 as the claims administrator and/or underwriter for each of all of the ERISA Plans
                                                                                   21 involved in this case 1 to decide which healthcare benefits claims will be paid under the
                                                                                   22 Plan; and which benefits claims will not be paid - - and thereafter to pay benefits to
                                                                                   23 claimants such Dr. Moradzadeh directly out of ERISA Plans assets that are within
                                                                                   24 United’s unfettered control in the ordinary course of business. In simple terms, Dr.
                                                                                   25
                                                                                   26 1 There are a total of five Plans (5) that are known to Plaintiff and two (2) Plans that are
                                                                                      unknown to Plaintiff at this stage.
                                                                                   27
                                                                                                                             –4–
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 Moradzadeh alleges on information and belief that United had the responsibility and
                                                                                    2 actual control to make benefits determinations for the healthcare services claims at issue
                                                                                    3 in this case.
                                                                                    4         C.      The Doe Defendants
                                                                                    5         11.     The true names and capacities of the Defendants sued herein as DOES are
                                                                                    6 unknown to Plaintiff at this time, and Plaintiff therefore sues such Defendants by
                                                                                    7 fictitious names. Plaintiff is informed and believes that the DOES are those individuals,
                                                                                    8 corporations and/or businesses or other entities that are also in some fashion legally
                                                                                    9 responsible for the actions, events and circumstances complained of herein, and may be
                                                                                   10 financially responsible to Plaintiff for services, as alleged herein. The Complaint will
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                                                                                   11 be amended to allege the DOES’ true status and capacities when they have been
                                                                                   12 ascertained.
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                                                                                   13 III.    THE PATIENTS AND THEIR ERISA PLANS
                                                                                   14         12.     The nine patients for whom medical services were provided by Dr.
                                                                                   15 Moradzadeh in this case are designated by initials herein as Patients SHO-ALY, JAM-
                                                                                   16 WEB, MIC-PAY, MIC-FOR, CAM-KHA, SAR-RIT, SUH-MAZ, SAU-ALS, ISA-
                                                                                   17 DAL (collectively the “Patients”) for privacy. A summary listing of the Patients, with
                                                                                   18 amounts billed and paid (zero payment) by United is attached hereto as Exhibit A with
                                                                                   19
                                                                                        the Patient names and identifiers redacted for privacy. 2
                                                                                   20
                                                                                   21
                                                                                   22 2       The names and any identifying information about the insured patients are not
                                                                                   23 set forth in this Complaint to preserve and protect the patient privacy. Plaintiff will
                                                                                   24 make the identifying information available to Defendants pursuant to an appropriate
                                                                                   25 protective order and will request that patient information also be subject to appropriate
                                                                                   26 protection during the litigation proceeding in this Court.
                                                                                   27
                                                                                                                             –5–
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1         13.   Plaintiff is informed and believes that each of the Patients was or is a
                                                                                    2 member or beneficiary of an ERISA Plan which has either been administered and/or
                                                                                    3 underwritten by United. The Patients and their participating plans are as follows:
                                                                                    4               PATIENTS                         PARTICIPATING PLANS
                                                                                    5 PATIENT SHO-ALY                      The participating plan is unknown at this time.
                                                                                    6 PATIENT JAM-WEB                      Equity Residential
                                                                                    7 PATIENT MIC-PAY                      Secure Horizons
                                                                                    8 PATIENT MIC-FOR                      Paysafe Direct LLC
                                                                                    9 PATIENT CAM-KHA                      The Khalili and Nishi Partnership
                                                                                   10
                                                                                      PATIENT SAR-RIT                      The participating plan is unknown at this time.
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                                                                                   11
                                                                                      PATIENT SHU-MAZ                      UHC Student Resources
                                                                                   12
                                                                                      PATIENT SAU-ALS                      UHC Student Resources
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                                                                                   13
                                                                                      PATIENT ISA-DAL                      UHC Student Resources
                                                                                   14
                                                                                   15
                                                                                              14.   In each claim circumstance, and prior to receiving services, each
                                                                                   16
                                                                                        Patient signed an agreement assigning his or her ERISA benefits to Dr.
                                                                                   17
                                                                                        Moradzadeh.
                                                                                   18
                                                                                              15.   Dr. Moradzadeh does not bring this suit against ERISA plans for
                                                                                   19
                                                                                        whom United acted as administer or insurer in connection with Plaintiff’s claims
                                                                                   20
                                                                                        in this action. Plaintiff is informed and believes that United, and not the ERISA
                                                                                   21
                                                                                        Plans themselves, exercised actual control over the determination and payment
                                                                                   22
                                                                                        of the benefits claims submitted by Plaintiff. Plaintiff is informed and believes
                                                                                   23
                                                                                        that United acted as the primary point of contact for members and providers to
                                                                                   24
                                                                                        communicate regarding all aspects of benefits and benefit determination.
                                                                                   25
                                                                                        Plaintiff is informed and believes that United Healthcare and UHC are the
                                                                                   26
                                                                                        responsible parties for administering and interpreting the ERISA Plans at issue
                                                                                   27
                                                                                                                             –6–
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 in this case and are the entities solely responsible for the denial of the benefits. These
                                                                                    2 parties, therefore, are the proper party defendants in this case.
                                                                                    3        16.    In the event that any of the listed healthcare plans are not subject to ERISA,
                                                                                    4 Dr. Moradzadeh contends and asserts that the doctrine of supplemental jurisdiction
                                                                                    5 applies with respect to the claims involving such non-ERISA plans.
                                                                                    6 IV.    CORE FACTS UNDERLYING THE DR. MORADZADEH CLAIMS FOR
                                                                                    7        PAYMENT
                                                                                    8        17.    Dr. Moradzadeh provided healthcare services from June 6, 2018 to August
                                                                                    9 17, 2021 on numerous occasions for the ERISA Plan members and their dependents
                                                                                   10 where the subject ERISA Plan was either administered and/or underwritten by United
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                                                                                   11 Healthcare or UHC. For some Plan members and dependents Dr. Moradzadeh has
                                                                                   12 provided healthcare services on more than one occasion. In total, Dr. Moradzadeh has
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                                                                                   13 performed thirteen (13) healthcare services events for nine (9) Plan members and/or
                                                                                   14 dependents which are the subject of this lawsuit as identified in Exhibit A.
                                                                                   15        18.    For each claim event at issue in this case, Plaintiff’s custom and practice
                                                                                   16 was to contact the United entity by telephone for benefit eligibility confirmation and
                                                                                   17 member coverage verification prior to performing any healthcare services. The regular
                                                                                   18 practice was that Dr. Moradzadeh’s representative, and a representative of the United
                                                                                   19 entity would discuss the proposed surgery event by telephone in advance of the services
                                                                                   20 being performed, and in each such telephone communication the United representative
                                                                                   21 advised Dr. Moradzadeh that coverage existed for the patient and that benefits were
                                                                                   22 properly payable to Dr. Moradzadeh as an out-of-network provider.
                                                                                   23        19.    After the United entity representatives had verified that the specified
                                                                                   24 treatment was covered and that Dr. Moradzadeh was eligible for payment of ERISA
                                                                                   25 Plan benefits, Dr. Moradzadeh provided the following Medical services which are
                                                                                   26
                                                                                   27
                                                                                                                            –7–
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 identified in this complaint by CPT 3 Codes.
                                                                                    2 PATIENT IDENTIFIER                      DOS              CPT CODES
                                                                                    3 PATIENT SHO-ALY                         02/06/2020       42145; 30465; 30520; 20912;
                                                                                    4                                                          30140; 30117
                                                                                    5 PATIENT JAM-WEB                         11/24/2020       30465
                                                                                    6                                         03/17/2021       99214; 20553
                                                                                    7 PATIENT MIC-PAY                         04/06/2021       99204
                                                                                    8 PATIENT MIC-FOR                         05/28/2021       99214
                                                                                    9
                                                                                         PATIENT CAM-KHA                      01/07/2021       99214
                                                                                   10
                                                                                         PATIENT SAR-RIT                      08/17/2021       99214
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                                                                                   11
                                                                                         PATIENT SHU-MAZ                      06/06/2018       99204; 31231
                                                                                   12
                                                                                                                              06/27/2018       31254; 31267; 30410; 30520
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                                                                                   13
                                                                                                                              07/03/2018       31237
                                                                                   14
                                                                                                                              07/13/2018       31237
                                                                                   15
                                                                                                                              11/30/2018       992511
                                                                                   16
                                                                                         PATIENT SAU-ALS                      11/21/2018       30140; 21235; 30520; 30465
                                                                                   17
                                                                                         PATIENT ISA-DAL                      06/16/2021       20912; 30140; 30520; 30465
                                                                                   18
                                                                                   19
                                                                                              20.    Dr. Moradzadeh relied and reasonably relied on the United entity
                                                                                   20
                                                                                        representative telephonic representations with respect to Patients at issue in this case by
                                                                                   21
                                                                                        providing surgery services in response to the United affirmation that Dr. Moradzadeh
                                                                                   22
                                                                                   23
                                                                                      3 CPT Code is the medical procedure descriptive identifier - - CPT means “Current
                                                                                   24 Procedural   Terminology”. The CPT Code is a medical code maintained by the
                                                                                      American Medical Association through the CPT Editorial Panel. The CPT codes set
                                                                                   25 describes medical, surgical, and diagnostic services and is designed to communicate
                                                                                      uniform information about medical services and procedures among physicians, coders,
                                                                                   26 patients accreditation organizations, and payors for administrative, financial, and
                                                                                      analytical purposes.
                                                                                   27
                                                                                                                             –8–
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 was eligible to receive benefits. But for the advance representations of the United entity
                                                                                    2 representatives in setting out Dr. Moradzadeh’s eligibility for benefits, Dr. Moradzadeh
                                                                                    3 would not have provided or continued to provide surgery services to the Patients.
                                                                                    4 V.      DR. MORADZADEH’S BILLINGS SUBMITTED TO THE UNITED
                                                                                    5         ENTITIES       PROVIDED        ALL      NECESSARY         INFORMATION            TO
                                                                                    6         SUPPORT CLAIM PAYMENT
                                                                                    7         21.   After the United entity representatives had verified that the specified
                                                                                    8 treatment was covered and that Dr. Moradzadeh was eligible for payment of ERISA
                                                                                    9 Plan benefits, Dr. Moradzadeh provided medical services.
                                                                                   10         22.   In connection with each of the claims where services were provided, Dr.
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                                                                                   11 Moradzadeh has billed a United entity for services rendered to ERISA Plan members
                                                                                   12 and their dependents. The Dr. Moradzadeh billings were submitted on a standard form
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                                                                                   13 1500 form which identified the name, and address of the provider; the patient name,
                                                                                   14 patient address, sex and ID number; the date of service, the CPT Code and the nature
                                                                                   15 of the services rendered. Each of Plaintiff’s claim billing forms set forth all the requisite
                                                                                   16 information in standard terminology with sufficient detail to enable the United entity to
                                                                                   17 consider and pay the claim in the ordinary course of business. An exemplar of the Dr.
                                                                                   18 Moradzadeh claim form submitted with the patient’s name and identifier redacted for
                                                                                   19 privacy is attached hereto as Exhibit B.
                                                                                   20         23.   On each billing form submitted by Dr. Moradzadeh, Plaintiff also marked
                                                                                   21 a “Y” in box 27, which affirmed to the United entity that Dr. Moradzadeh was asserting
                                                                                   22 its claim for payment pursuant to a patient assignment of benefits.
                                                                                   23         24.   The charges for healthcare services submitted by Dr. Moradzadeh to the
                                                                                   24 United entities were in all instances usual, customary and reasonable and in accord with
                                                                                   25 Plaintiff’s charges to non-Medicare patients insured by entities other than the subject
                                                                                   26 plans in this case. Plaintiff’s charges for services submitted to the United entities were
                                                                                   27
                                                                                                                              –9–
                                                                                   28      COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                        ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 also in accordance with the charges of other medical service providers in the
                                                                                    2 community who provided healthcare services that might be considered
                                                                                    3 comparable to those provided by Dr. Moradzadeh. The United entities have
                                                                                    4 abused their discretion and acted in an arbitrary and capricious manner by failing
                                                                                    5 and refusing to honor and pay Dr. Moradzadeh’s claims in accordance with
                                                                                    6 ERISA requirements, practices and provisions and Dr. Moradzadeh has suffered
                                                                                    7 resulting damages in an amount to be proven at trial.
                                                                                    8        25.    In connection with every claim form submitted, Dr. Moradzadeh has
                                                                                    9 received an Explanation of Benefits (“EOB”) document from a United entity.
                                                                                   10 VI.    PLAINTIFF HAS STANDING TO PURSUE CLAIMS AGAINST UNITED
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                                                                                   11        UNDER ERISA FOR PAYMENT OF BENEFITS AND ATTORNEY’S
                                                                                   12        FEES
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                                                                                   13        26.    ERISA governs all aspects of health and medical benefits under ERISA
                                                                                   14 plans, and authorizes a civil action to recover unpaid benefits and attorney’s fees. Dr.
                                                                                   15 Moradzadeh has standing to bring this lawsuit arising from its assignments from
                                                                                   16 patients.
                                                                                   17        27.    The United entities in this action are the proper party defendants for an
                                                                                   18 ERISA benefits recovery action. See, Harris Trust & Sav. Bank v. Salomon, Smith
                                                                                   19 Barney, Inc., 530 U.S. 238, 247 (2000); Cyr v. Reliance Standard Life Ins. Co., 647
                                                                                   20 F.3d 1202 (9th Cir. 2011).
                                                                                   21 VII. DR. MORADZADEH HAS EXHAUSTED ALL ADMINSTRATIVE
                                                                                   22      REMEDIES
                                                                                   23        28.    For the claim events in this action, United provided EOB documents which
                                                                                   24 purported to explain the denials with respect to Dr. Moradzadeh billing submittals. The
                                                                                   25 EOBs set forth groundings for United’s claim denials. Dr. Moradzadeh has appealed
                                                                                   26 all of the denials except two claims. However, the EOBs and appeals were woefully
                                                                                   27
                                                                                                                           – 10 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 deficient in their explanation of the purported grounding for          the denial of Dr.
                                                                                    2 Moradzadeh’s bills. For example, one of the groundings used by Unied as a claim denial
                                                                                    3 was that the medical records did not contain sufficient detail to support the billed
                                                                                    4 charges. A statement that that the medical records did not contain sufficient detail to
                                                                                    5 support the billed charges is a meaningless non sequitur, and provides no explanation
                                                                                    6 or basis as to what is needed. Such a vague and non-specific statement in the EOB does
                                                                                    7 not constitute a final determination with respect to the denial.
                                                                                    8        29.    Plaintiff has appealed all of the billing denials asserted in connection with
                                                                                    9 the claims in this case except two claims and , yet the appeals have been futile and have
                                                                                   10 not resulted in any payment from United. However, and irrespective of the appeals
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                                                                                   11 being submitted, United in their EOBs has violated the applicable claims procedure
                                                                                   12 regulations governing ERISA plans as set forth in 29 C.F.R. section 2560.503-1 (b). Of
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                                                                                   13 particular significance in this case are the regulations dealing with “Manner and Content
                                                                                   14 of Notification of Benefit Determination” set forth in 29 C.F.R. section 2560.503-1
                                                                                   15 (g)(1). That section requires that the plan administrator shall provide a claimant with a
                                                                                   16 written or electronic notification of any adverse benefit determination. The regulations
                                                                                   17 require the following:
                                                                                   18        “The notification shall set forth, in a manner calculated to be understood by the
                                                                                   19        claimant - -
                                                                                   20          I.   The specific reason or reasons for the adverse determination;
                                                                                   21         II.   Reference to the specific plan provisions on which the determination is
                                                                                   22               based;
                                                                                   23        III.   A description of any additional material or information necessary for the
                                                                                   24               claimant to perfect the claim and an explanation of why such material or
                                                                                   25               information is necessary;
                                                                                   26        IV.    A description of the plan’s review procedures and the time limits
                                                                                   27
                                                                                                                           – 11 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1              applicable to such procedures, including a statement of the claimant’s
                                                                                    2              right to bring a civil action under Section 502(a) of the Act following an
                                                                                    3              adverse benefit determination on review.”
                                                                                    4        30.   These notification requirements were not met by the EOBs and the appeals
                                                                                    5 responses in the present action, and the regulations are specific about the consequence
                                                                                    6 of a failure by United to comply with notification requirements in its EOBs. 29 C.F.R.
                                                                                    7 section 2560.503-1(1) provides:
                                                                                    8        “(l) Failure to establish and follow reasonable claims procedures:
                                                                                    9        In the case of the failure of a plan to establish or follow claims procedures
                                                                                   10        consistent with the requirements of this section, a claimant shall be deemed to
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                                                                                   11        have exhausted the administrative remedies available under the plan and shall
                                                                                   12        be entitled to pursue any available remedies under section 502(a) of the Act on
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                                                                                   13        the basis that the plan has failed to provide a reasonable claims procedure that
                                                                                   14        would yield a decision on the merits of the claim.”
                                                                                   15        31.   Dr. Moradzadeh is deemed by law to have exhausted administrative
                                                                                   16 remedies because United failed to establish and follow reasonable claims procedures
                                                                                   17 as required by ERISA. United failed to process claims submitted by the Plaintiff in a
                                                                                   18 manner consistent or substantially in compliance with ERISA regulation 29 C.F.R.
                                                                                   19 section 2560.503-1. Among other things, United:
                                                                                   20        • Failed to set out the specific reason for denial of Plaintiff’s claims in its
                                                                                   21        responses transmitted to Plaintiff during the administrative review process;
                                                                                   22        • Failed to reference the specific Plan provisions upon which its nonpayment
                                                                                             determinations were based;
                                                                                   23
                                                                                             • Failed to give a description of additional materials or information which was
                                                                                   24        needed to pursue and perfect the claims, and an explanation of why such
                                                                                             information was necessary;
                                                                                   25
                                                                                             • Failed to provide Plan documents, or internal rules, guidance, protocols, or
                                                                                   26        other criteria upon which the denial determinations were based;
                                                                                   27
                                                                                                                           – 12 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1        • Failed to state the denial determinations in a manner calculated to be
                                                                                    2        understood by Plaintiff;
                                                                                             • Failed to provide a reasonable opportunity for full and fair review of the
                                                                                    3
                                                                                             denial determinations;
                                                                                    4        • Employed policies designed to unduly hamper the review and appeal of claims
                                                                                    5        submitted by Plaintiff;
                                                                                    6        • Acted systematically in a manner which rendered the administrative appeal
                                                                                             process a futile and meaningless endeavor.
                                                                                    7
                                                                                    8        32.    When a plan administrator fails to comply with certain administrative
                                                                                    9 process regulations, “a claimant shall be deemed to have exhausted the administrative
                                                                                   10 remedies under the plan,” 29 C.F.R Section 2560.503-1; Vaught v. Scottsdale Health
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                                                                                   11 Corp. Health Plan, 546 F.3d 620, 626-27 (9th Cir. 2008). Administrative process
                                                                                   12 regulations establish a precursory duty in such a manner that a plan administrator’s
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                                                                                   13 failure to comply with certain regulations provides claimants and their assignees (such
                                                                                   14 as Dr. Moradzadeh) a free pass from any obligation to engage in or exhaust
                                                                                   15 administrative review. “[W]hen an employee benefits plan ‘fails to establish or follow
                                                                                   16 reasonable claims procedures consistent with the requirements of ERISA, a claimant
                                                                                   17 need not exhaust because his claims will be deemed exhausted.’” Barboza v. Cal. Ass’n
                                                                                   18 of Professional Firefighters, 651 F.3d 1073, 1076 (9th Cir. 2011) citing 29 C.F.R.
                                                                                   19 Section 2560.503-1; Bilyeu v. Morgan Stanley Long Term Disability Plan, 683 F.3d
                                                                                   20 1083, 1089 (9th Cir. 2012).
                                                                                   21        33.    Dr. Moradzadeh is not obligated to follow internal review procedures of
                                                                                   22 the ERISA Plans at issue in this case, because United’s denial letters in this case (the
                                                                                   23 EOB’s and appeal responses) “failed to cite specifically the pertinent plan provision on
                                                                                   24 which the denial was based, as is required by 29 C.F.R. Section 2560.503-1 (f)(2)”.
                                                                                   25 White v. Jacobs Eng’g Group Long Term Disability Benefit Plan, 896 F.2d 344, 349
                                                                                   26 (9th Cir. 1989). Furthermore, Plaintiff is excused from obtaining internal review process
                                                                                   27
                                                                                                                           – 13 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 as United’s EOB’s and appeal responses failed to provide a specific reason or reason
                                                                                    2 for their benefit determination. Lee v. Cal. Butcher’s Pension Trust Fund, 154 F.3d
                                                                                    3 1075, 1080 (9th Cir. 1998). “Conclusory statement which do not give reasons for denial
                                                                                    4 do not satisfy the requirement for specificity” and therefore excuse a plaintiff from
                                                                                    5 “obtain[ing] timely internal review”. Accord White, 896 F.3d at 349.
                                                                                    6        34.    In the absence of a properly stated final determination in the pre-litigation
                                                                                    7 claim review process, no statute of limitation ever began running with respect to the
                                                                                    8 Plaintiff’s claims. White, supra, 896 F.2d at 351; Bilyeu, supra, 683 F.3d at 1089; Chuck
                                                                                    9 v. Hewlett Packard Co., 455 F.3d 1026 (9th Cir. 2006).
                                                                                   10 VIII. ASSIGNMENTS TO HEALTHCARE PROVIDERS ARE FAVORED
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                                                                                   11        UNDER ERISA LAW
                                                                                   12        35.    In Misic v. Bldg. Services Employees Health & Welfare Trust, 789 F.2d
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                                                                                   13 1377 (9th Cir. 1989) the Ninth Circuit Court determined that assignment of patient
                                                                                   14 benefits under healthcare plans are favored practice to ensure efficiency in the delivery
                                                                                   15 of healthcare services. “[P]ermitting the assignment of benefits claims to healthcare
                                                                                   16 providers makes it easier for plan participants to finance healthcare and therefore
                                                                                   17 advances the congressional intent behind ERISA.” Misic, supra, at 1378. Assignees of
                                                                                   18 a claim for collection of healthcare benefits have been permitted to bring suit on the
                                                                                   19 basis of derivative standing. See also, Simon v. Blue Behav. Health, Inc., 208 F.3d 1073,
                                                                                   20 1081 (9th Cir. 2000) (extending derivative standing to healthcare providers to whom
                                                                                   21 beneficiaries assigned their benefits claims for medical care from such providers).
                                                                                   22 Granting standing to healthcare providers furthered the congressional purposes behind
                                                                                   23 ERISA because it enhanced the efficiency and ease of billing among all the interested
                                                                                   24 parties. See id. The authority of Misic and Simon were recently reaffirmed in Bristol
                                                                                   25 SL Holdings, Inc. v. Cigna Health and Life Ins. Co. (9th Cir. No. 20-56122, January 14,
                                                                                   26 2022).
                                                                                   27
                                                                                                                           – 14 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 IX.    UNITED HAS WAIVED AND/OR IS ESTOPPED FROM ASSERTING
                                                                                    2        ANY      “ANTI-ASSIGNMENT”             CLAUSES        CONTAINED         IN       THE
                                                                                    3        PATIENTS’ HEALTHCARE PLANS
                                                                                    4        36.    Under federal ERISA law, a healthcare plan and its claim administrators
                                                                                    5 are subject to specific rules where benefits are to be denied with respect to claims of a
                                                                                    6 healthcare provider.
                                                                                    7        37.    When making a claim determination under ERISA, "an administrator may
                                                                                    8 not hold in reserve a known or reasonably knowable reason for denying a claim, and
                                                                                    9 give that reason for the first time when the claimant challenges a benefits denial in
                                                                                   10 court." Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc., 770
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                                                                                   11 F.3d 1282, 1296 (9th Cir. 2014) ("Spinedex"); Harlick v. Blue Shield of Cal., 686 F.3d
                                                                                   12 699, 719 (9th Cir. 2012) (''Harlick''). “A plan administrator may not fail to give a reason
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                                                                                   13 for a benefits denial during the administrative process and then raise that reason for the
                                                                                   14 first time when the denial is challenged in federal court[.]” See id. “Anti-assignment
                                                                                   15 clauses in ERISA health plans are valid and enforceable.” Spinedex, supra, 770 F.3d
                                                                                   16 at 1296. However, a plan administrator can waive the right to enforce an anti-
                                                                                   17 assignment provision. See Spinedex supra. at 1296-97 (acknowledging the right to
                                                                                   18 assert waiver, but concluding on the specific facts of Spinedex that the defendant-claims
                                                                                   19 administrator was not required to raise the anti-assignment provision during the
                                                                                   20 administrative claim process in that case because "there [wa]s no evidence that [the
                                                                                   21 claims administrator] was aware, or should have been aware, during the administrative
                                                                                   22 process that [the plaintiff-medical provider] was acting as its patient's assignee").
                                                                                   23        38.    Waiver is "the intentional relinquishment of a known right." Gordon v.
                                                                                   24 Deloitte & Touche LLP Grp. Long Term Disability Plan, 749 F.3d 746, 752 (9th Cir.
                                                                                   25 19 2014) (citing Intel Corp. v. Hartford Accident & lndem. Co., 952 F.2d 1551, 1559
                                                                                   26 (9th 2nd Cir. 1991) (Waiver occurs when "a party intentionally relinquishes a right, or
                                                                                   27
                                                                                                                            – 15 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 when that party's acts are so inconsistent with an intent to enforce the right as to induce
                                                                                    2 a reasonable belief that such right has been relinquished.")). To show that a claims
                                                                                    3 administrator waived an anti-assignment provision that would otherwise foreclose the
                                                                                    4 healthcare services provider from having statutory standing in an ERISA action, the
                                                                                    5 provider must plead sufficient facts to show that the plan administrator "was aware or
                                                                                    6 should have been aware, during the administrative [claim] process that [the provider]
                                                                                    7 was acting as its patients’ assignee.” See Spinedex, 770 F. 3d at 1297. Plaintiff has
                                                                                    8 pleaded waiver facts in this action in accordance with Spinedex and Harlick. Each of
                                                                                    9 Dr. Moradzadeh’s billing form included an “X” in the Form 1500 which notified the
                                                                                   10 claims administrator that the claim was being pursued by way of an assignment. These
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                                                                                   11 facts establish that United was aware and was put on notice that from the time that the
                                                                                   12 claim was submitted that the provider was submitting the claims based on an assignment
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                                                                                   13 and has waived any purported anti-assignment clause in any of the ERISA Plans and
                                                                                   14 United is estopped from asserting any such clause.
                                                                                   15        39.    United at all relevant times was aware that Plaintiff was pursuing his
                                                                                   16 claims on the basis of written assignments of benefits. At no time prior to the filing the
                                                                                   17 present litigation has United ever asserted that any bar or legal impediment existed in
                                                                                   18 the Plans with respect to Plaintiff’s unfettered right to receive payment of benefits as an
                                                                                   19 out-of-network provider un the Plans. Specifically, United never stated any intention
                                                                                   20 to assert any anti-assignment clause during the pre-litigation administrative review
                                                                                   21 process.
                                                                                   22        40.    Further, United is estopped from asserting anti-assignment by the fact that
                                                                                   23 during the claim administration review process it represented that Plaintiff was eligible
                                                                                   24 to receive plan benefits. The authority of Spinedex and Harlick on the waiver and
                                                                                   25 estoppel issues was reaffirmed in Beverly Oaks Physicians Surgery Center, LLC v. Blue
                                                                                   26 Cross and Blue Shield of Illinois, 983 F.3d 435 (9th Cir. 2020) (“Beverly Oaks’). Under
                                                                                   27
                                                                                                                            – 16 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 Beverly Oaks, the promise that Dr. Moradzadeh was eligible to receive plan benefits as
                                                                                    2 an out-of-network healthcare provider is sufficient to estop United from asserting a plan
                                                                                    3 anti-assignment in this case.
                                                                                    4 X.      UNITED HAS NO GROUNDING TO ASSERT STATUTE OF
                                                                                    5         LIMITATIONS WITH RESPECT TO PLAINTIFF’S CLAIMS
                                                                                    6         A.    United Failed to Provide a Final Determination; And Accordingly,
                                                                                    7               No Statute of Limitations Has Begun to Run
                                                                                    8         41.   After Beverly Oaks was decided on December 18, 2020, this Court’s
                                                                                    9 determination became the subject of a District Court opinion issued May 25, 2021 in
                                                                                   10 Brand Tarzana Surgical Institute, Inc. v. Aetna Life Insurance Company, Inc., et. al.,
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                                                                                   11 Case No. 18-9434 DSF (AGRx) (“Brand v. Aetna”). In its Order involving anti-
                                                                                   12 assignment defenses (Dkt. 72), the District Court in Brand v. Aetna concluded that
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                                                                                   13 there was no final determination in that case due to a failure of the insurer to submit
                                                                                   14 adequate notification of adverse benefits determinations:
                                                                                   15               Aetna argues some claims are untimely because some of the plans
                                                                                   16         limit the time period in which one must seek recovery, and Brand's lawsuit is
                                                                                   17         outside those time periods. Br. at 14-17; Aetna Suppl. Br. at 16-17. However,
                                                                                   18         given the inadequacies of the adverse benefit notifications discussed above,
                                                                                   19         there was no final decision on those claims. The contractual limitations
                                                                                   20         therefore do not apply. (Dkt. 72, p. 8)
                                                                                   21         42.   The District Court in Brand v. Aetna cited to earlier Ninth Circuit
                                                                                   22 authority as the basis for its statute of limitations determination:
                                                                                   23               White v. Jacobs Engineering Group Long Term Disability Benefit Plan,
                                                                                   24         896 F.2d 344, 350 (9th Cir. 1989) supports this conclusion. In White, the Ninth
                                                                                   25         Circuit held that "[w] hen a benefits termination notice fails to explain the
                                                                                   26         proper steps for appeal, the plan's time bar is not triggered." Id. (Dkt. 72, p. 8-9)
                                                                                   27
                                                                                                                             – 17 –
                                                                                   28      COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                        ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1        43.    The Brand v. Aetna court grounded its statute of limitations
                                                                                    2 determination on the ERISA claims procedures regulations:
                                                                                    3               In reaching its decision, the Ninth Circuit [in White] reasoned that an
                                                                                    4        administrator should not be permitted to deter a claimant from filing a timely
                                                                                    5        appeal ''by sending vague and inadequate appeal notices, withholding
                                                                                    6        information claimants need to appeal effectively." Id. at 351. (Dkt, 72, p. 9)
                                                                                    7        44.    The District Court in Brand v. Aetna found the reasoning in White was
                                                                                    8 applicable to contractual time limits for filing a civil action in addition to an
                                                                                    9 administrative appeal. The District Court cited to Bourgeois v. Employees of Santa Fe
                                                                                   10 International Company, 215 F.3d 475, 482 (5th Cir. 2000) (holding where an
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                                                                                   11 employer's failure to give an employee adequate claims procedure information caused
                                                                                   12 the employee to fail to exhaust his administrative remedies and extinguished the
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                                                                                   13 employee's time to apply for benefits, his claim should be remanded to the plan
                                                                                   14 administrator and the employer was estopped from arguing the employee's claim was
                                                                                   15 time-barred); and Bilyeu v. Morgan Stanley Long Term Disability Plan, 683 F.3d
                                                                                   16 1083, 1089 (9th Cir. 2012) (holding a district court abused its discretion by finding a
                                                                                   17 claim was time-barred because the letter outlining administrative remedies and time to
                                                                                   18 sue was ambiguous and "[a] communication from a claims administrator to a plan
                                                                                   19 participant should clearly apprise her of her rights and obligations under the plan");
                                                                                   20 and Chuck v. Hewlett Packard Co., 455 F.3d 1026 (9th Cir. 2006) (finding the failure
                                                                                   21 to comply with ERISA's notification procedures was a "highly significant factor" for
                                                                                   22 determining whether the statutory limitations period began running).
                                                                                   23        45.    Similarly in the present action, the United’s EOBs and appeal responses
                                                                                   24 failed to provide adverse benefits notification sufficient to trigger the running of a
                                                                                   25 statute of limitations. Absent a final determination, the Plaintiff claims remain fully
                                                                                   26 open for further administration claim consideration and claim resolution at trial.
                                                                                   27
                                                                                                                            – 18 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1        B.     A Three-Year Period of Equitable Tolling Applies To Preclude
                                                                                    2               United From Asserting Statute of Limitations as a Defense to the
                                                                                                    Claims Asserted by Dr. Moradzadeh in this Action
                                                                                    3
                                                                                    4                  (1)       California Law Applies For Statute of Limitations
                                                                                                                 Purposes As The State Where The Claims Arose
                                                                                    5
                                                                                    6        46.    The statute of limitations in this case is subject to equitable tolling for the

                                                                                    7 period December 18, 2017 to December 17, 2020. All of the subject claims fall within
                                                                                    8 the statute if equitable tolling is applied.
                                                                                    9        47.    ERISA is silent as to the statute of limitations to be applied to the
                                                                                   10 benefits claims asserted by SJN in this case. Where a statute of limitations is lacking
                                                                                   11 in federal court litigation, the District Court is to look to and apply (i.e. borrow) the
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                                                                                   12 most analogous state statute. The Ninth Circuit has ruled that the applicable
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                                                                                   13 borrowing statute in the context of an action for ERISA benefits is the state where the
                                                                                   14 claim for benefits arose. Gordon v. Deloitte & Touche LLP Group Long Term
                                                                                   15 Disability Plan, 749 F. 3d 746, 750 (9 Cir. 2014) (citing Wetzel v. Lou Ehlers
                                                                                                                            th


                                                                                   16 Cadillac Group Long Term Disability Insurance Program, 222 F. 3d 643 (9 Cir.
                                                                                                                                                             th


                                                                                   17 2000).
                                                                                   18        48.    In the present case, the claims for benefits arose in California, and the
                                                                                   19 applicable statute is the 4-year California statute for breach of contract. See Northern
                                                                                   20 Cal. Retail Clerks v. Jumbo Markets, Inc. 906 F. 2d. 1371, 1372 (9 Cir. 1990)
                                                                                                                                                        th


                                                                                   21 However, when a statute of limitations is borrowed, the tolling and suspension
                                                                                   22 provisions which are part of the statute under applicable state law must also be
                                                                                   23 borrowed in the federal court action, and in the present case California equitable
                                                                                   24 tolling provisions will apply to extend the application of the statute. See, also,
                                                                                   25 Heimeshoff v. Hartford Life & Accident Ins. Co., 571 U.S. 99, 113 (2013) (equitable
                                                                                   26 tolling of a statute of limitations may be appropriate in extraordinary circumstances).
                                                                                   27
                                                                                                                            – 19 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1                     (2)    Waiver And Estoppel Apply and Provide a Grounding
                                                                                    2                            For Equitable Tolling of the Statute of Limitations

                                                                                    3        49.    The Supreme Court in Heimeshoff stated (571 U.S. at 104) that waiver
                                                                                    4 and estoppel may prevent a claims administrator from invoking a limitations period as
                                                                                    5 a defense. Here, waiver and estoppel both apply to preclude United from asserting
                                                                                    6 statute of limitations without an extension for a 3-year equitable tolling period, as
                                                                                    7 defined below.
                                                                                    8                     (3)    Equitable Tolling Begins To Run No Later Than
                                                                                    9                            December 18, 2017 And Continues To Apply Until
                                                                                                                 December 17, 2020
                                                                                   10
                                                                                             50.    It appeared to be settled law in the Ninth Circuit from and after 2014 that
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                                                                                   11
                                                                                   12 waiver of an anti-assignment clause by a healthcare plan claims administrator would
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                                                                                   13 occur if the administrator was aware, or should have been aware during the
                                                                                   14 administrative process that a healthcare provider was asserting claims pursuant to a
                                                                                   15 patient assignment. Spinedex, supra, 770. F. 3d at 1296-97. Under Spinedex, and the
                                                                                   16 Ninth Circuit’s 2012 decision in Harlick, a healthcare claims administrator was barred
                                                                                   17 by waiver and estoppel from failing to give a reason for a benefits denial during the
                                                                                   18 pre-litigation claim administration process and then raising that reason for the first
                                                                                   19 time when the denial of plan benefits was challenged by the healthcare provider in
                                                                                   20 federal court.
                                                                                   21        51.    Despite what should have been a controlling body of Ninth Circuit law, a
                                                                                   22 District Court in the Central District of California in 2016 struck out in an unexpected
                                                                                   23 and erroneous new direction in the handling of anti-assignment clauses. In the case of
                                                                                   24 Brand Tarzana Surgical Institute, Inc. v. International Longshore & Warehouse
                                                                                   25 Union-Pacific Maritime Association Welfare Plan, District Court No. 2-14-cv-03191-
                                                                                   26 FMO-AGRx (“Brand Tarzana v. ILWU”) the District Court entered an Order
                                                                                   27
                                                                                                                            – 20 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 Regarding Cross Motions for Summary Judgment on March 8, 2016. (Dkt. 69) In its
                                                                                    2 Order, the District Court concluded that Plaintiff Brand Tarzana had failed to prove
                                                                                    3 waiver of an anti-assignment clause that was contained in the ILWU-PMA Welfare
                                                                                    4 Plan which was the subject of that case. The District Court Order dated March 8,
                                                                                    5 2016, concluded that the Plan’s failure to raise the anti-assignment clause prior to
                                                                                    6 litigation did not constitute waiver, since the anti-assignment clause was not “a
                                                                                    7 substantive basis for denial” (Dkt 69, p. 15) The District Court wrongly concluded in
                                                                                    8 Brand Tarzana v. ILWU - - in direct contradiction to the controlling authority of
                                                                                    9 Spinedex and Harlick - - that the failure to raise the anti-assignment clause was
                                                                                   10 irrelevant to a pre-litigation denial of a healthcare claim since, until a suit was filed,
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                                                                                   11 there was nothing that occurred within the range of conduct the anti-assignment
                                                                                   12 clauses purported to prohibit. (Dkt. 69, pp. 15-16) In the Brand Tarzana v. ILWU
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                                                                                   13 circumstance, where none of the claims at issue were denied in the pre-litigation
                                                                                   14 administrative claim process on the basis of the anti-assignment clause, the District
                                                                                   15 Court erroneously decided that any failure to raise the clause pre-litigation as a ground
                                                                                   16 for denial of plaintiff’s claims did not constitute a waiver of the provision. (Dkt. 69,
                                                                                   17 p. 16) This District Court ruling on March 8, 2016 put in place an unfortunate and ill-
                                                                                   18 conceived framework for addressing anti-assignment clauses which rendered it
                                                                                   19 impossible for healthcare providers to file and pursue ERISA benefits recovery
                                                                                   20 lawsuits where the subject ERISA plans contained an anti-assignment provision. The
                                                                                   21 erroneous framework which was adopted by the District Court in 2016 was
                                                                                   22 subsequently put aside on December 17, 2020 when the Ninth Circuit put anti-
                                                                                   23 assignment law back on a proper footing in its published Beverly Oaks decision, but
                                                                                   24 until corrective action was taken in Beverly Oaks in 2020, healthcare providers such as
                                                                                   25 Noveon had no realistic or viable means of pursuing their assignment-based
                                                                                   26 healthcare claims in federal court. In the present action, the healthcare claims which
                                                                                   27
                                                                                                                            – 21 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 arose during the period when Ninth Circuit law was premised on a mistaken
                                                                                    2 conceptual framework favoring anti-assignment and the claims where the right to sue
                                                                                    3 matured during this time frame should be subject to equitable tolling.
                                                                                    4        52.    Brand Tarzana immediately appealed the adverse District Court ruling of
                                                                                    5 March 8, 2016. See Ninth Circuit Case No. 16-55503, Brand Tarzana Surgical
                                                                                    6 Institute, Inc v. ILWU-PMA Welfare Plan, 706 F.App’x 442 (9th Cir. 2017). However,
                                                                                    7 the Ninth Circuit panel that heard the case on appeal affirmed the District Court ruling
                                                                                    8 by way of a Memorandum Decision filed December 18, 2017. (Dkt. 76) The Ninth
                                                                                    9 Circuit in Brand Tarzana v. ILWU erroneously agreed with the District Court that the
                                                                                   10 anti-assignment clause could indeed be held in reserve during the pre-litigation claims
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                                                                                   11 administrative process, and then be put forward for the first time in benefits recovery
                                                                                   12 litigation as a “litigation defense”.
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                                                                                   13        53.    The legal issue of anti-assignment clauses as a “litigation defense” was
                                                                                   14 the subject of ongoing litigation over a period of three years from the time the Brand
                                                                                   15 Tarzana v. ILWU Memorandum Decision was entered in the Ninth Circuit (December
                                                                                   16 18, 2017) to December 17, 2020 when the published opinion in Beverly Oaks was
                                                                                   17 issued which put the anti-assignment issue to rest once and for all. The Ninth Circuit
                                                                                   18 filed its published opinion in Beverly Oaks, on December 17, 2020, which effectively
                                                                                   19 repudiated and reversed its earlier Brand Tarzana v. ILWU Memorandum Decision.
                                                                                   20 Anti-assignment in the case of Brand Tarzana v. ILWU had been considered a
                                                                                   21 “litigation defense” and not a substantive basis for claim denial - - but this “litigation
                                                                                   22 defense” framework only lasted in this Circuit for three years until it was rejected in
                                                                                   23 Beverly Oaks on December 17, 2020. The Beverly Oaks panel decided that there was
                                                                                   24 “no rationale” for condoning an insurer or plan administrator’s course of conduct in
                                                                                   25 failing to raise the anti-assignment provision during the administrative claims process
                                                                                   26 and then later asserting that provision as a “litigation defense” to avoid payment of
                                                                                   27
                                                                                                                            – 22 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 benefits. The Beverly Oaks Court found that the Brand Tarzana v. ILWU “litigation
                                                                                    2 defense” framework as a basis to deny waiver of the anti-assignment clause left an
                                                                                    3 insurer or plan administrator unaccountable for prior conduct contrary to its litigation
                                                                                    4 provision.
                                                                                    5        54.   Indeed, taking it a step further, the Beverly Oaks Court further concluded
                                                                                    6 that Blue Cross in that case made an actionable misrepresentation to the surgery center
                                                                                    7 plaintiff in Brand Tarzana v. ILWU, by stating that plaintiff was “eligible’ to receive
                                                                                    8 plan benefits. The Beverly Oaks Court in its published opinion of December 17, 2020
                                                                                    9 concluded that this misrepresentation estopped Blue Cross from asserting the anti-
                                                                                   10 assignment defense.
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                                                                                   11        55.   Waiver and estoppel apply in this case to preclude an anti-assignment
                                                                                   12 defense, just as they did in Beverly Oaks, and Beverly Oaks reopened the door for filing
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                                                                                   13 of ERISA benefits recovery actions by healthcare providers based on patient
                                                                                   14 assignments of benefits. The statute of limitations should be tolled for the three-year
                                                                                   15 period in which the door to benefits recovery was improperly closed
                                                                                   16        C.    California Emergency Rule 9 Tolls the Statute of Limitations for 178
                                                                                   17              Days Between April 6, 2020 to October 1, 2020.
                                                                                   18        56.   On March 4, 2020, Governor Gavin Newsom declared a state of
                                                                                   19 emergency in response to the spread of COVID-19 in California. On March 19, a state
                                                                                   20 wide stay-at-home order was issued. On March 27, 2020, Governor Newsom issued
                                                                                   21 Executive Order N-38-20 which, among other things, gave the Judicial Council of
                                                                                   22 California the authority to take actions necessary to maintain access to the essential
                                                                                   23 operations of California's court system while protecting the health and safety of
                                                                                   24 California residents. Over the course of several months in 2020, the Judicial Council
                                                                                   25 adopted 13 emergency rules.
                                                                                   26        57.   Amongst the 13 emergency rules is Emergency Rule 9, which is intended
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                                                                                                                           – 23 –
                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 to apply broadly to toll any statute of limitations on the filing of a pleading in
                                                                                    2 court asserting a civil cause of action. Under Emergency Rule 9, a statute of limitations
                                                                                    3 requirement was implemented, with a total of 180 days tolled between April 6, 2020
                                                                                    4 and October 1, 2020. Dr. Moradzadeh proceeds with the claims against United based
                                                                                    5 on the tolling of the statute of limitations during the period between April 6, 2020 to
                                                                                    6 October 1, 2020 premised upon California Emergency Rule 9.                   Therefore, Dr.
                                                                                    7 Moradzadeh’s claims should not be barred by the statute of limitations.
                                                                                    8        D.       The Statute of Limitations for Breach of Contract Does Not Begin To
                                                                                    9                 Run Until The Contract No Longer Is Executory
                                                                                   10        58.      The Supreme Court in Mather v. Mather (`944) 25 Cal.2d 582, 586
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                                                                                   11 stated:
                                                                                   12           [T]he law recognizes, as a matter of classification, two kinds of contracts - -
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                                                                                   13        executory and executed. The former is one in which some acts remain to be done,
                                                                                   14        while the latter is one where everything is completed at the time of agreement,
                                                                                   15        without any outstanding promise calling for fulfillment by the further act of either
                                                                                   16        party.
                                                                                   17        59.      In general, insurance policies including health insurance plans require the
                                                                                   18 policy holder to share a portion of the future financial risk covered by policy either
                                                                                   19 through deductibles, self-insured retentions or retrospective premiums. In healthcare
                                                                                   20 insurance policies where the insurer has a continuing obligation to provide coverage
                                                                                   21 and the insured has continuing obligation to pay standard premium, deductible, co- pay,
                                                                                   22 the insurance contract is an executory contract. The insurance policy in essence is an
                                                                                   23 agreement for the insured to pay the insurer for continuously providing coverage and
                                                                                   24 therefore is an executory contract.
                                                                                   25        60.      Under California law, statutes of limitations for breach of contract does not
                                                                                   26 commence to run as long as the contract is executory. In Lubin v. Lubin (1956) 144
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                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
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                                                                                    1 Cal.App.2d 781 791 the court stated,
                                                                                    2        “In those cases where a continuing contract involves the rendering of benefits to
                                                                                    3        the plaintiff before the date for final performance the rule is as stated in California
                                                                                    4        Jurisprudence, section 110, page 511: ‘In the case of a continuing executory
                                                                                    5        contract, if the parties do not mutually abandon and rescind it, it is optional with
                                                                                    6        the plaintiff to sue immediately upon the breach or to wait until the expiration of
                                                                                    7        the time designated in the contract before commencing his action.’” Oil Base,
                                                                                    8        Inc. v. Cont'l Cas. Co. (1969) 271 Cal. App. 2d 378, 389-90 (citations omitted).
                                                                                    9        61.    In Oil Base, the insured sued the insurer for breach of contract and
                                                                                   10 reformation. The trial court entered judgment for the insurer based on its determination
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                                                                                   11 that the claims were barred by the statute of limitations. The Court of Appeal reversed
                                                                                   12 based on the continuing executory nature of the liability insurance policy issued by
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                                                                                   13 Continental. Similar to Oil Base, United as the insurer has a continuing duty to provide
                                                                                   14 coverage under the health insurance plan for covered services and the patients/insured
                                                                                   15 likewise have the continuing obligation under the Policy to pay their premium in
                                                                                   16 installments and cover their co-pay and deductibles for the services received.
                                                                                   17        62.    Each Insurance Plan in this action remains executory as long as the
                                                                                   18 Insured/Patient/Beneficiary has premium payment obligations, deductible and co-
                                                                                   19 payments and United has a continued obligation to provide coverage for services
                                                                                   20 rendered. As the obligations of the insured/beneficiary/patient to pay co-pay and
                                                                                   21 deductible and/or premium continues and United’s obligations to pay for covered
                                                                                   22 expenses continues with respect to claims in Exhibit A, the statute of limitations has not
                                                                                   23 matured and has not begun to run until either the duty to pay premium, co-pay and/or
                                                                                   24 deductible has extinguished, or the ERISA Plan has been rescinded or terminated by
                                                                                   25 United. None of Dr. Moradzadeh’s claims should be barred by the statute.
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                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
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                                                                                    1                                       FIRST COUNT
                                                                                    2                                (Against United Defendants)
                                                                                    3    Enforcement Under 29 U.S.C. Section 1132 (a)(1)(B) For Failure To Pay
                                                                                    4    ERISA Plan Benefits And For The Recovery Of Reasonable Attorney’s
                                                                                    5               Fees And Costs Under 29 U.S.C. Section 1132 (G)(1)
                                                                                    6         63.   The allegations of the prior paragraphs (paragraphs 1 to 62) of this
                                                                                    7 Complaint are hereby incorporated by reference in this First Count as if fully set forth
                                                                                    8 at length.
                                                                                    9         64.   This cause of action is alleged by Plaintiff for relief in connection with
                                                                                   10 claims for medical services rendered in connection with ERISA Plans administered
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                                                                                   11 and/or underwritten by United.
                                                                                   12         65.   Dr. Moradzadeh seeks to recover ERISA Plan benefits and enforce rights
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                                                                                   13 to benefits payment under 29 U.S.C. section 1132 (a)(1)(B); and under 29 U.S.C.
                                                                                   14 section 1132 (g)(1) for recovery of reasonable attorney’s fees and costs.                Dr.
                                                                                   15 Moradzadeh has standing to pursue these claims as the assignee of member benefits.
                                                                                   16 As the assignee of benefits, Plaintiff is a “beneficiary” entitled to collect benefits and is
                                                                                   17 the “claimant” for the purposes of the ERISA statute and regulations. ERISA authorizes
                                                                                   18 actions under 29 U.S.C. Section 1132 (a)(1)(B) to be brought directly against the United
                                                                                   19 Defendants as the parties with actual control over the benefit and payment
                                                                                   20 determinations with respect to Dr. Moradzadeh’s claims.
                                                                                   21         66.   By reason of the foregoing, Plaintiff is entitled to recover ERISA benefits
                                                                                   22 for the services rendered to patients identified in Exhibit A due and owing in an amount
                                                                                   23 to be proven at trial, and Dr. Moradzadeh seeks recovery of such benefits by way of the
                                                                                   24 present action.
                                                                                   25         67.   29 U.S.C. Section 1132 (g)(1) authorizes the Court to allow
                                                                                   26 recovery of reasonably attorney’s fees and costs incurred in this action. Dr.
                                                                                   27
                                                                                                                            – 26 –
                                                                                   28     COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                       ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
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                                                                                    1 Moradzadeh has incurred, and continues to incur, attorney’s fees and costs in its pursuit
                                                                                    2 of benefits, and is entitled to recover its reasonable attorney’s fees and costs in an
                                                                                    3 amount to be proven at trial.
                                                                                    4        WHEREFORE, Plaintiff prays for judgment against United Defendants as
                                                                                    5 follows:
                                                                                    6        1. For damages against United Defendants in an amount to be proven at trial in
                                                                                    7            connection with the healthcare benefits claim properly due and payable with
                                                                                    8            respect to the services rendered to the Patients identified in Exhibit A hereto
                                                                                    9            under the terms of the ERISA Plans at issue in this case.
                                                                                   10        2. For interest at the applicable legal rate.
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                                                                                   11        3. For reasonable attorney’s fees and costs in an amount to be proven at trial.
                                                                                   12        For such other relief as the Court may deem just and proper.
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                                                                                   14 Dated: January 12, 2023                  Respectfully submitted,
                                                                                   15                                          WILLIAMS WOLLITZ HAKAKIAN PC
                                                                                   16
                                                                                   17                                          By:    /s/ Mina Hakakian
                                                                                                                                      Mina Hakakian
                                                                                   18                                                 Attorney for Plaintiff Arash Moradzadeh
                                                                                   19                                                 M.D. Inc.
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                                                                                   28    COMPLAINT FOR RECOVERY OF BENEFITS UNDER 29 U.S.C. § 1132 (A)(1)(B) AND REASONABLE
                                                                                                      ATTORNEY’S FEES AND COSTS UNDER 29 U.S.C. § 1132 (G)(1)
